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 1                                                               The Honorable Richard A. Jones
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 4
                             UNITED STATES DISTRICT COURT
 5                          WESTERN DISTRICT OF WASHINGTON
                                      AT SEATTLE
 6

 7   UNITED STATES OF AMERICA,                         No. CR11-083 RAJ
 8                 Plaintiff,
                                                       ORDER GRANTING STIPULATED
 9          v.
                                                       MOTION TO RELEASE
10   AKATA SMITH,                                      DEFENDANT

11                 Defendant.

12
            THIS MATTER comes before the Court upon a stipulated motion to release Ms.
13   Smith from custody at the Federal Detention Center in Seatac, where she is currently
14   being held pending an evidentiary hearing on alleged supervised release violations in this
15   matter. Having considered the entirety of the records and file herein, the Court hereby

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     GRANTS this motion (Dkt. #66).
            It is ORDERED that Ms. Smith be released from custody on July 11, 2014,
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     pending the evidentiary hearing in this matter. Ms. Smith shall be released subject to the
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     original terms of her supervised release, with an added condition that she attend inpatient
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     drug treatment as directed by the Probation Office. Upon release from custody, Ms.
20   Smith shall proceed directly to inpatient drug treatment.
21          DATED this 10th day of July, 2014.
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                                                      A
24
                                                      The Honorable Richard A. Jones
                                                      United States District Judge
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     ORDER GRANTING STIPULATED MOTION TO               LAW OFFICE OF CHRISTOPHER BLACK, PLLC
     RELEASE DEFENDANT                                   1111 Hoge Building, 705 Second Avenue
     (Akata Smith; No. CR11-083 RAJ) - 1                          Seattle, WA 98104
                                                           206.623.1604 | Fax: 206.658.2401
